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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                             Case No. 4:12CR00143-006 KGB

TENESHIA W. ROBERTS                                                               DEFENDANT

                                            ORDER

       This matter is removed from this Court’s calendar for Wednesday, January 22, 2014, and will

be reset by amended notice.

       SO ORDERED this 16th day of January, 2014.


                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
